            Case 1:16-bk-10154                        Doc 2          Filed 01/29/16 Entered 01/29/16 12:16:13                       Desc Main
                                                                     Document     Page 1 of 65
 Fill in this information to identify the case:

 Debtor name         Microfibres, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.. Webster Bank N.A.                                          Checking                     4440                                  $154,809.04




           3.2.. Banc Corp South                                            Checking                     0941                                   $14,199.45




           3.3.. Ing - Belgium                                              Checking                     7551                                     $2,534.23



 4.        Other cash equivalents (Identify all)


           4.1.. Cash Surrender Value Life Insurance/Pledged to Webster Bank N.A.                                                            $3,477,081.93




 5.        Total of Part 1.                                                                                                              $3,648,624.65
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Microfibres, Inc.                                                              Case number (If known)
                Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.. Duke Energy                                                                                                             $134,205.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.                                                                                                          $134,205.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         5,934,339.91    -                        593,433.91 = ....                $5,340,906.00
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                          16,704,409.48     -                      4,242,818.32 =....               $12,461,591.16
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                       $17,802,497.16
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.. E*Trade Investment Account                                                            Market                              $2,000.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.. Microfibres Mexico S.A.                                          50           %                                           Unknown




           15.2.. Fiber Finance S.A. Holding Value                                 99.9         %                                           Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Microfibres, Inc.                                                             Case number (If known)
                Name




           15.3.. Microfibres Partnership                                          10             %   Equity                              Unknown




           15.4.. Fashan Nanfang Printing & Dyeing                                 71.7           %   Purchase                            Unknown




           15.5.. Microfibres Europe Nv                                            100            %                                             $0.00




           15.6.. Microfibres China Limited HK JAR Co.                             100            %                                             $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.                                                                                                           $2,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last         Net book value of       Valuation method used   Current value of
                                                     physical inventory       debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Substrate - Adhesive -
           Fiber - Dyes - Chem                       12/31/15                      $3,033,229.00      Purchase Price                 $3,033,229.00



 20.       Work in progress
           Base Cloth - Flocked                      12/31/15                        $839,568.00      Cost                             $839,568.00



 21.       Finished goods, including goods held for resale
           Non-Woven Fabric &
           Imported Goods                            12/31/15                      $5,598,560.00      Low Cost/Market                $5,598,560.00



 22.       Other inventory or supplies
           Maintenance Parts                                                         $216,439.00      Purchase Price                   $216,439.58



 23.       Total of Part 5.                                                                                                      $9,687,796.58
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
              No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                  839100 Valuation method         Purchase Price Current Value                     839099.93

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks - Files - Chairs - Tables - Etc.                                           $0.00    Depreciation 10y                          $0.00



 40.       Office fixtures
           Lights - Book Shelves- Built In Etc.                                             $0.00    Depreciation 10y                          $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Complete Internet & ERPSystems                                             $92,389.74     Depreciation 3y                   $92,389.74



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1.. Various Office Art Work                                                 $0.00      Expensed                                  $0.00



 43.       Total of Part 7.                                                                                                           $92,389.74
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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                Name


       No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.. 1991 Lexus Passenger Car
                     1998Lexus Passenger Car
                     Chevrolet Cargo Van                                                    $0.00                                                $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Rhode Island Machinery & Equipment                                        $499,425.04     Depreciation 10y                  $499,425.04


           Winston-Salem North Carolina Machinery &
           Equipment                                                                 $580,394.94     Depreciation 10y                  $580,394.94


           Racking Belden Mississippi                                                       $0.00                                                $0.00



 51.       Total of Part 8.                                                                                                      $1,079,819.98
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         Microfibres, Inc.                                                             Case number (If known)
                Name

            55.1.    Land and Buildings,
                     1 Mosshassuck
                     Street, Pawtucket, RI
                     and 125 Main Street,
                     Pawtucket, RI                        Own                      $1,200,000.00     Estimate                      $1,200,000.00


            55.2.    Land and Building,
                     Kimwell Drive,
                     Winston-Salem,
                     North Carolina                       Own (28%)                $1,200,000.00     Estimate                      $1,200,000.00


            55.3.    Land and Building,
                     Westover Park Drive,
                     Tupelo, MS                           Own                        $200,000.00     Estimate                        $200,000.00




 56.        Total of Part 9.                                                                                                     $2,600,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patents - Processes - Copyrights designs
            Trademark Microfibres                                                           $0.00                                        Unknown



 61.        Internet domain names and websites
            www.microfibres.com                                                             $0.00                                              $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor         Microfibres, Inc.                                                             Case number (If known)
                Name

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                             305,460.51 -                                  0.00 =
            James R. and Hope B. McCulloch                             Total face amount    doubtful or uncollectible amount                 $305,460.51


                                                                             466,528.76 -                                  0.00 =
            Microfibres Partnership                                    Total face amount    doubtful or uncollectible amount                $466,528.76


                                                                              60,500.00 -                                  0.00 =
            Microfibres Mexico S.A.                                    Total face amount    doubtful or uncollectible amount                  $60,500.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Federal & State NOL's                                                               Tax year                                              $0.00



 73.        Interests in insurance policies or annuities

            Cash Surrender Value after Loan Paydown                                                                                          $439,856.28



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Claims against Flokser San ve Ticaret and Tukek
            Holding for patent infringement                                                                                                $1,200,000.00
            Nature of claim          Claims against Flokser San ve
                                     Ticaret and Tukek Holding for
                                     patent infringement
            Amount requested                      $1,200,000.00



          Claims for duty drawback - U.S. Customs                                                                                                     $0.00
          Nature of claim        Claims for duty drawback - U.S.
                                 Customs
          Amount
Official Form     requested
               206A/B                      Schedule
                                               $300,000.00
                                                    A/B Assets - Real and Personal Property                                                          page 7
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 Debtor         Microfibres, Inc.                                                            Case number (If known)
                Name



           Claims against Solvay USA Inc. for fiber
           degredation/warranty and contribution claims                                                                               $0.00
           Nature of claim        Claims against Solvay USA Inc.
                                  for fiber degredation/warranty
                                  and contrib. claim
           Amount requested                            $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                             $2,472,345.55
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 8
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 Debtor          Microfibres, Inc.                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                       Current value of real
                                                                                                  personal property                      property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                     $3,648,624.65

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $134,205.00

 82. Accounts receivable. Copy line 12, Part 3.                                                            $17,802,497.16

 83. Investments. Copy line 17, Part 4.                                                                            $2,000.00

 84. Inventory. Copy line 23, Part 5.                                                                        $9,687,796.58

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $92,389.74

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                               $1,079,819.98

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,600,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

 90. All other assets. Copy line 78, Part 11.                                                 +              $2,472,345.55

 91. Total. Add lines 80 through 90 for each column                                                     $34,919,678.66               + 91b.            $2,600,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $37,519,678.66




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                              page 9
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 Fill in this information to identify the case:

 Debtor name          Microfibres, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim              Value of collateral
                                                                                                                                                 that supports this
                                                                                                                    Do not deduct the value      claim
                                                                                                                    of collateral.
 2.1    WEBSTER BANK N.A.                            Describe debtor's property that is subject to a lien                 $3,111,178.11            $3,364,422.91
        Creditor's Name                              Cash Surrender Value of Keyman Insurance
        50 KENNEDY PLAZA,
        SUITE 1110
        PROVIDENCE, RI 02903
        Creditor's mailing address                   Describe the lien
                                                     Working Capital Loan # ACRS
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                           $3,111,178.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                     1

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                       On which line in Part 1 did you     Last 4 digits of
                                                                                                                enter the related creditor?         account number for
                                                                                                                                                    this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Microfibres, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $1,450.00
           A + A DESIGN STUDIO                                                    Contingent
           V.LE DELLE RIMEMBRANZE                                                 Unliquidated
           20125 Milan                                                            Disputed
           Date or dates debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90,452.04
           ACETO CORPORATION                                                      Contingent
           4 TRI HARBOR COURT                                                     Unliquidated
           PORT WASHINGTON, NY 11050                                              Disputed
           Date or dates debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $2,636.46
           ACTION INDUSTRIAL SUPPLY                                               Contingent
           PO BOX 7095                                                            Unliquidated
           STATESVILLE, NC 28677                                                  Disputed
           Date or dates debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $6,783.79
           AD & D WELDING & BOILER WORK                                           Contingent
           33 BLEACHERY COURT                                                     Unliquidated
           WARWICK, RI 02886                                                      Disputed
           Date or dates debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 46
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             Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,094.25
          ADP                                                                   Contingent
          P O BOX 9001006                                                       Unliquidated
          LOUISVILLE, KY 40290-1006                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $145.00
          ADVANCED TESTING INSTRUMENTS                                          Contingent
          P O BOX 338                                                           Unliquidated
          REIDVILLE, SC 29375                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,123.80
          AEP INDUSTRIES INC                                                    Contingent
          P.O. BOX 205637                                                       Unliquidated
          DALLAS, TX 75320-5637                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          AERIS ENVIRONMENTAL, INC.                                             Contingent
          1519 MYERS PARK DRIVE                                                 Unliquidated
          CHARLOTTE, NC 28207                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $307.50
          AETNA BEHAVIORAL HEALTH, LLC                                          Contingent
          P.O. BOX 783791                                                       Unliquidated
          PHILADELPHIA, PA 19178-3791                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          AFFA BRE DESIGN                                                       Contingent
          LINKE WIENZEILE 46/1/10                                               Unliquidated
          VIENNA                                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,065.00
          AGAR MACHINE & WELDING                                                Contingent
          270 YORK AVENUE                                                       Unliquidated
          PAWTUCKET, RI 02860                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $795.77
          AIR & ENERGY SYSTEMS, INC.                                            Contingent
          P.O. BOX 1218                                                         Unliquidated
          MATTHEWS, NC 28106                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,769.65
          AIR POWER                                                             Contingent
          P O BOX 5406                                                          Unliquidated
          HIGH POINT, NC 27262                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          AIRDYE SOLUTIONS, LLC                                                 Contingent
          P.O. BOX 28796                                                        Unliquidated
          NEW YORK, NY 10087-8796                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $801.90
          AIRGAS NATIONAL WELDERS                                               Contingent
          P.O. BOX 532609                                                       Unliquidated
          ATLANTA, GA 30353-2609                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    $801.90
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $644.29
          AIRGAS USA, LLC                                                       Contingent
          PO BOX 802576                                                         Unliquidated
          CHICAGO, IL 60680-2576                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $168.30
          ALARM NEW ENGLAND                                                     Contingent
          65 INWOOD RD                                                          Unliquidated
          ROCKY HILL, CT 06067-3440                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $157.00
          ALFA INTERNATIONAL LOGISTICS,                                         Contingent
          139 MITCHELL AVE, SUITE 201                                           Unliquidated
          SOUTH SAN FRANCISCO, CA 94080                                         Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $85.00
          ALL STATE LOCKSMITHS                                                  Contingent
          1676 HARTFORD AVENUE                                                  Unliquidated
          JOHNSTON, RI 02919                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $89.87
          ALLIED BEARINGS & SUPPLY                                              Contingent
          P O BOX 6417                                                          Unliquidated
          STATESVILLE, NC 28687-6417                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,428.17
          ALLNEX USA INC.                                                       Contingent
          P.O. BOX 742396                                                       Unliquidated
          ATLANTA, GA 30374-2396                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,321.29
          AMERICAN EXPRESS                                                      Contingent
          P O BOX 1270                                                          Unliquidated
          NEWARK, NJ 07101-1270                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,280.00
          AMERICAN FLOCK ASSO.                                                  Contingent
          P.O. BOX 1090                                                         Unliquidated
          CHERRYVILLE, NC 28021                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $394.29
          AMERICAN MONFORTS CORP                                                Contingent
          P O BOX 26245                                                         Unliquidated
          CHARLOTTE, NC 28221                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,008.99
          AMERIPRIDE LINEN AND                                                  Contingent
          APPAREL SERVICES                                                      Unliquidated
          BEMIDJI, MN 56619-1564                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,452.15
          AMPRO, INC.                                                           Contingent
          PO BOX 578                                                            Unliquidated
          WALLBURG, NC 27373                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,327.39
          ANCHOR INDUSTRIAL SALES, INC                                          Contingent
          DEPT. 207                                                             Unliquidated
          HOUSTON, TX 77210-4346                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,073.75
          ANDRITZ KUSTERS                                                       Contingent
          P. O. BOX 123236                                                      Unliquidated
          DALLAS, TX 75312                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $64,396.00
          AON RISK SERVICES, INC.                                               Contingent
          P O BOX 7247-7376                                                     Unliquidated
          PHILADELPHIA, PA 19170-7376                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,126.00
          APOLLO CHEMICAL                                                       Contingent
          P.O. BOX 405490                                                       Unliquidated
          ATLANTA, GA 30384-5490                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,299.30
          APPLIED COPIER CONCEPTS                                               Contingent
          P.O. BOX 18606                                                        Unliquidated
          GREENSBORO, NC 27419                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,098.00
          AQUASOL                                                               Contingent
          730 NORTH ANDERSON ROAD                                               Unliquidated
          ROCK HILL, SC 29730                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $288.37
          ARAMARK                                                               Contingent
          234 BALLARDVALE ST                                                    Unliquidated
          WILMINGTON, MA 01887                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,735.26
          ARBON EQUIPMENT CORP                                                  Contingent
          25464 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1254                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,671.53
          ARCHROMA US, INC.                                                     Contingent
          32290 COLLECTION CENTER DR                                            Unliquidated
          CHICAGO, IL 60693-0322                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          ART COTTAGE                                                           Contingent
          63B KING STREET                                                       Unliquidated
          LEICESTER LE1 6RP                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,296.00
          ASTRO AMERICAN CHEMICAL CO.                                           Contingent
          PO BOX 878                                                            Unliquidated
          FOUNTAIN INN, SC 29644                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,355.20
          ASTRO CHEMICALS, INC.                                                 Contingent
          P O BOX 2248                                                          Unliquidated
          SPRINGFIELD, MA 01102-2248                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $525.00
          ATLANTIC COBRA CONCEPTS                                               Contingent
          P O BOX 2185                                                          Unliquidated
          KERNERSVILLE, NC 27285                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $270.00
          ATLANTIC ELEVATOR SOUTH                                               Contingent
          1900 FALL RIVER AVENUE                                                Unliquidated
          SEEKONK, MA 02771                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $623.00
          ATLANTIC WEBWORKS AND                                                 Contingent
          CONSULTING, INC                                                       Unliquidated
          GREENSBORO, NC 27409                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,778.08
          ATLAS MATERIAL TESTING                                                Contingent
          TECHNOLOGY LLC                                                        Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $833.79
          ATMOS ENERGY                                                          Contingent
          P O BOX 790311                                                        Unliquidated
          ST LOUIS, MS 63179-0311                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,236.77
          AVERITT EXPRESS INC                                                   Contingent
          P. O. BOX 102159                                                      Unliquidated
          ATLANTA, GA 30368-2159                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $388.80
          AYER SALES INC                                                        Contingent
          P.O. Box 6061                                                         Unliquidated
          Brattleboro, VT 05302-6061                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $189.65
          BATTERIES PLUS                                                        Contingent
          636D SOUTH STRATTFORD RD.                                             Unliquidated
          WINSTON SALEM, NC 27103                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,528.30
          BIG D'S INDUSTRIAL SUPPLY                                             Contingent
          175 LOBLOLLY LANE                                                     Unliquidated
          WINSTON-SALEM, NC 27107                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,223.96
          BOC INTERNATIONAL, INC                                                Contingent
          5TH FLOOR                                                             Unliquidated
          BOSTON, MA 02210                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,556.15
          BOLGER & O'HEARN                                                      Contingent
          47 SLADE STREET                                                       Unliquidated
          FALL RIVER, MA 02724                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,101.94
          BOSTON SAW & KNIFE                                                    Contingent
          292 RESERVOIR STREET                                                  Unliquidated
          NEEDHAM HEIGHTS, MA 02494                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,519.00
          BOWMAN TRAILER LEASING                                                Contingent
          PO BOX 433                                                            Unliquidated
          WILLIAMSPORT, MD 21795                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,348.20
          BRASK ENTERPRISES INC.                                                Contingent
          P O BOX 551                                                           Unliquidated
          ATTLEBORO, MA 02703                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,923.66
          BRENNTAG MID-SOUTH, INC.                                              Contingent
          P.O. BOX 752094                                                       Unliquidated
          CHARLOTTE, NC 28275-2094                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,549.06
          BRIGGS AGENCIES INC.                                                  Contingent
          37 HIGGINS AVENUE                                                     Unliquidated
          WINNEPEG                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $757.07
          BROOKFIELD ENGINEERING                                                Contingent
          LABORATORIES, INC                                                     Unliquidated
          MIDDLEBORO, MA 02346-1031                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $37.54
          BUG FREE                                                              Contingent
          437 ENDVILLE ROAD                                                     Unliquidated
          BELDEN, MS 38826                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,584.16
          BUSINESS & LEGAL RESOURCES                                            Contingent
          P.O. BOX 41503                                                        Unliquidated
          NASHVILLE, TN 37204-1503                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $214.62
          C.C. DICKSON CO.                                                      Contingent
          P.O. BOX 13501                                                        Unliquidated
          ROCK HILL, SC 29731-3501                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,618.54
          CABCO ENGINEERING                                                     Contingent
          372 Central Avenue                                                    Unliquidated
          PAWTUCKET, RI 02860                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,704.07
          CABCO NEW ENGLAND CORP                                                Contingent
          67 YORK AVENUE                                                        Unliquidated
          RANDOLPH, MA 02367                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,563.48
          CARAUSTAR INDUSTRIAL PRODUCT                                          Contingent
          P. O. BOX 935013                                                      Unliquidated
          ATLANTA, GA 31193-5013                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $398.50
          CARLTON GROUP, INC                                                    Contingent
          P.O. BOX 900013                                                       Unliquidated
          RALEIGH, NC 27675                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $368.53
          CAROLINA BRUSH COMPANY                                                Contingent
          P O BOX 2469                                                          Unliquidated
          GASTONIA, NC 28053                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,596.25
          CAROLINA CONTAINER COMPANY                                            Contingent
          P O BOX 2166                                                          Unliquidated
          HIGH POINT, NC 27261                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,147.77
          CAROLINA FLUID COMPONENTS                                             Contingent
          P.O. BOX 601687                                                       Unliquidated
          CHARLOTTE, NC 28260-1687                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,400.00
          CAROLINA HOIST & CRANE                                                Contingent
          P O BOX 13860                                                         Unliquidated
          GREENSBORO, NC 27415                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,676.75
          CARRIER CORP.                                                         Contingent
          P.O. BOX 93844                                                        Unliquidated
          CHICAGO, IL 60673-3844                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.00
          CATAWBA VALLEY COMMUNITY COL                                          Contingent
          2550 HWY 70, SE                                                       Unliquidated
          HICKORY, NC 28602                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $401.00
          CENTRAL PAPER                                                         Contingent
          PO BOX 1701                                                           Unliquidated
          PAWTUCKET, RI 02862                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $735.00
          CENTRAL SCALE CO.                                                     Contingent
          P O BOX 8886                                                          Unliquidated
          WARWICK, RI 02888                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $157.60
          CENTRAL TRANSPORT INTERNAT'L                                          Contingent
          P O BOX 33299                                                         Unliquidated
          DETROIT, MI 48232                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,416.50
          CHEM-TEX LABORATORIES                                                 Contingent
          P O BOX 5228                                                          Unliquidated
          CONCORD, NC 28027                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $877.20
          CHEMARCO, INC.                                                        Contingent
          CHEMARCO, INC                                                         Unliquidated
          GREENVILLE, SC 29616                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,100.00
          CHEMPOINT.COM                                                         Contingent
          13727 COLLECTION CENTER DR.                                           Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $178.74
          CITY OF HIGH POINT                                                    Contingent
          P O BOX 10039                                                         Unliquidated
          HIGH POINT, NC 27261-3039                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,053.08
          CITY OF PAWTUCKET                                                     Contingent
          P O BOX 9709                                                          Unliquidated
          PROVIDENCE, RI 02940-9709                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $107,772.91
          CITY OF WINSTON SALEM                                                 Contingent
          UTILITIES                                                             Unliquidated
          CHARLOTTE, NC 28258-0055                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,202.44
          CLASSIC BUSINESS SYSTEMS, IN                                          Contingent
          2080 E. FIFTH STREET                                                  Unliquidated
          WINSTON-SALEM, NC 27101                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,151.01
          CLEMMONS PALLET & SKID WORKS                                          Contingent
          P. O. BOX 162353                                                      Unliquidated
          ATLANTA, GA 30321                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,887.50
          COLORSOURCES, INC.                                                    Contingent
          181 GOLFVIEW DRIVE                                                    Unliquidated
          ADVANCE, NC 27006                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $99.85
          COMCAST CABLE                                                         Contingent
          P.O. BOX 105257                                                       Unliquidated
          ATLANTA, GA 30348-5257                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,734.58
          CON-WAY FREIGHT                                                       Contingent
          P O BOX 5160                                                          Unliquidated
          PORTLAND, OR 97208-5610                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,488.41
          CONTINUANT, INC.                                                      Contingent
          5050 20TH ST EAST                                                     Unliquidated
          FIFE, WA 98424                                                        Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,122.85
          COR365 INFORMATION SOLUTIONS                                          Contingent
          3302 OLD LEXINGTON ROAD                                               Unliquidated
          WINSTON-SALEM, NC 27107                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $347.22
          CORE SUPPLY LLC                                                       Contingent
          P.O. BOX 5194                                                         Unliquidated
          ASHEBORO, NC 27204                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,171.46
          COTE COLOR CORP                                                       Contingent
          P O BOX 3584                                                          Unliquidated
          SPARTANBURG, SC 29304                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,063.40
          CPI                                                                   Contingent
          LOCKBOX 405566                                                        Unliquidated
          ATLANTA, GA 30384-5566                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,100.00
          CREANTES SA                                                           Contingent
          6900 LUGANO                                                           Unliquidated
          SWITZERLAND                                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $424.56
          CROSS COMPANY                                                         Contingent
          P O BOX 601855                                                        Unliquidated
          CHARLOTTE, NC 28260-1855                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,360.00
          CROSSTEC SYSTEMS                                                      Contingent
          705 POPLAR TRACE                                                      Unliquidated
          DANVILLE, VA 24540                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $144.31
          CROWN UNIFORM & LINEN                                                 Contingent
          15 TECHNOLOGY WAY                                                     Unliquidated
          NASHUA, NH 03060                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $404.88
          CUSTOM ADHESIVE PRODUCTS                                              Contingent
          2909 WOLFF ST                                                         Unliquidated
          RACINE, WI 53404                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,863.15
          DALTON'S METAL WORKS                                                  Contingent
          P O BOX 1683                                                          Unliquidated
          WELCOME, NC 27374                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,513.91
          DE LAGE LANDEN FINANCIAL SER                                          Contingent
          P. O. BOX 41602                                                       Unliquidated
          PHILADELPHIA, PA 19101-1602                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $247,243.17
          DIMERCO EXPRESS (USA) CORP                                            Contingent
          150 PENNEY ROAD SUITE 100                                             Unliquidated
          FOREST PARK, GA 30297                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,768.17
          DIRECT ENERGY BUSINESS                                                Contingent
          PO BOX 70220                                                          Unliquidated
          PHILADELPHIA, PA 19176-0220                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,860.00
          DISANTO PRIEST & CO.                                                  Contingent
          117 METRO CENTER BLVD                                                 Unliquidated
          WARWICK, RI 02886                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,420.00
          DIVERSIFIED TESTING LAB                                               Contingent
          336 WEST FRONT STREET                                                 Unliquidated
          BURLINGTON, NC 27215                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $675.60
          DL THURROTT INC.                                                      Contingent
          39976 TREASURY CENTER                                                 Unliquidated
          CHICAGO, IL 60694-9900                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,216.19
          DLV SALES INC                                                         Contingent
          C/O TONY VINSON                                                       Unliquidated
          SHANNON, MS 38868                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $94.80
          DORELL FABRICS                                                        Contingent
          C/O ARNIE CHASEN                                                      Unliquidated
          SANTA MONICA, CA 90402                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $208,204.35
          DS-CONCEPT SPECIAL FINANCE LLC                                        Contingent
          EURO TEXTILES DENMARK                                                 Unliquidated
          Date or dates debt was incurred                                       Disputed

          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,306.21
          DUKE ENERGY                                                           Contingent
          P.O. BOX 70515                                                        Unliquidated
          CHARLOTTE, NC 28272-0516                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,796.00
          DYE-O=CHEM AMERICAN                                                   Contingent
          666 PLAINSBORO ROAD                                                   Unliquidated
          PLAINSBORO, NJ 08536                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,679.75
          DYNAMIC QUEST, INC                                                    Contingent
          4821 KOGER BLVD                                                       Unliquidated
          GREENSBORO, NC 27407                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $745.09
          DYSTAR                                                                Contingent
          P O BOX 75193                                                         Unliquidated
          CHARLOTTE, NC 28275-0193                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $83.07
          E FIRE                                                                Contingent
          P O BOX 438                                                           Unliquidated
          TUPELO, MS 38802                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $556.05
          EARTHLINK BUSINESS                                                    Contingent
          PO BOX 88104                                                          Unliquidated
          CHICAGO, IL 60680-1104                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,553.00
          EASTERN COLOR & CHEMICAL CO.                                          Contingent
          P O BOX 6161                                                          Unliquidated
          PROVIDENCE, RI 02940                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,498.79
          EASTERN INDUSTRIAL AUTOMATIO                                          Contingent
          P O BOX 540647                                                        Unliquidated
          WALTHAM, MA 02454-0647                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    $1,498.79
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,663.65
          EASTERN SERVO                                                         Contingent
          1691 HARRIS HENRIETTA ROAD                                            Unliquidated
          FOREST CITY, NC 28043                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $212.38
          ELECTRIC SERVICE AND SALES INC                                        Contingent
          P O BOX 409897                                                        Unliquidated
          ATLANTA, GA 30384-9897                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,433.65
          ELECTRIC SUPPLY & EQPMNT                                              Contingent
          P.O. BOX 601118                                                       Unliquidated
          CHARLOTTE, NC 28260-1118                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $255.00
          ELEVATOR SERVICE CO.                                                  Contingent
          PO BOX 21331                                                          Unliquidated
          WINSTON-SALEM, NC 27120                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,275.76
          EMERALD PERFORMANCE MATERIAL                                          Contingent
          3157 SOLUTIONS CENTER                                                 Unliquidated
          CHICAGO, IL 60677-3001                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,117.88
          ENERGY MACHINERY INC                                                  Contingent
          P O BOX 363                                                           Unliquidated
          ROCKLAND, MA 02370                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,144.00
          ENVIRONMENTAL RESOURCE                                                Contingent
          101 CENTER POINTE DRIVE                                               Unliquidated
          CARY, NC 27513-5706                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,052.00
          ENVIRONMENTAL SCIENCE                                                 Contingent
          THIELSCH ENGINEERING                                                  Unliquidated
          BOSTON, MA 02284-5327                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $509.40
          ERHARDT & LEIMER, INC.                                                Contingent
          350 TUCAPAU ROAD                                                      Unliquidated
          DUNCAN, SC 29334                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $399.00
          ESP ELECTRONIC SECURITY                                               Contingent
          275 CR 2878                                                           Unliquidated
          BALDWYN, MS 38824                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $253.40
          ESTES EXPRESS LINES                                                   Contingent
          P O BOX 25612                                                         Unliquidated
          RICHMOND, VA 23260-5612                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,247.78
          EVERBANK COMMERCIAL FINANCE,                                          Contingent
          DEPT # 1608                                                           Unliquidated
          DENVER, CO 80203                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $495.00
          EXPERT SERVICES INTL., LLC                                            Contingent
          P O BOX 37047                                                         Unliquidated
          CHARLOTTE, NC 28237                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,194.75
          FAIRCLOTH MACHINE SHOP                                                Contingent
          179 WAUGHTOWN STREET                                                  Unliquidated
          WINSTON-SALEM, NC 27127                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $167.09
          FASTENAL COMPANY                                                      Contingent
          P O BOX 1286                                                          Unliquidated
          WINONA, MN 55987-1286                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,629.66
          FEDEX                                                                 Contingent
          P O BOX 371461                                                        Unliquidated
          PITTSBURGH, PA 15250-7461                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $314.68
          FILTER EQUIPMENT CO., INC                                             Contingent
          1440 HWY 34                                                           Unliquidated
          WALL, NJ 07753                                                        Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,209.99
          FILTER SALES & SERVICE                                                Contingent
          15 ADAM STREET                                                        Unliquidated
          BURLINGTON, MA 01803-4916                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,585.00
          FINZER ROLLER OF NORTH CAROL                                          Contingent
          6556 SOLUTION CENTER                                                  Unliquidated
          CHICAGO, IL 60677                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          FIRE SYSTEMS, INC                                                     Contingent
          P.O. BOX 38720                                                        Unliquidated
          CHARLOTTE, NC                                                         Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,923.25
          FIRE-ADE, INC.                                                        Contingent
          2800 GRIFFITH ROAD                                                    Unliquidated
          WINSTON-SALEM, NC 27103                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,106.13
          FISHEL STEEL CO., INC.                                                Contingent
          760 PALMER LANE                                                       Unliquidated
          WINSTON-SALEM, NC 27107                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $215,683.44
          FORSYTH COUNTY                                                        Contingent
          GENERAL FUND                                                          Unliquidated
          WINSTON-SALEM, NC 27101-4120                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $5,955,372.41
          FOSHAN NANFANG PRINTING & DYEI                                        Contingent
                                                                                Unliquidated
          Date or dates debt was incurred                                       Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,229.03
          G & M PRODUCTS INC.                                                   Contingent
          1309 FOX RUN                                                          Unliquidated
          MIDDLEBORO, MA 02346                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $924.91
          G T SAFETY EQUIP. INC.                                                Contingent
          485 NARRAGANSETT PARK DRIVE                                           Unliquidated
          PAWTUCKET, RI 02861                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,075.77
          GASTON COUNTY DYEING MACHINE                                          Contingent
          P O BOX 308                                                           Unliquidated
          STANLEY, NC 28164                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,709.18
          GE CAPITAL C/O RICOH USA PRO                                          Contingent
          P O BOX 41564                                                         Unliquidated
          PHILADELPHIA, PA 19101-1564                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,600.00
          GLEN RAVEN TRANSPORTATION                                             Contingent
          PO BOX 602308                                                         Unliquidated
          CHARLOTTE, NC 28260-2308                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,016.67
          GOMER CONSULTING GROUP                                                Contingent
          P O BOX 904                                                           Unliquidated
          PACIFIC CITY, OR 97135                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,968.19
          GOODWAY TECHNOLOGIES CORP.                                            Contingent
          DEPT 106040                                                           Unliquidated
          HARTFORD, CT 06115-0413                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $408.15
          GRAINGER-1                                                            Contingent
          DEPT 808895049                                                        Unliquidated
          PALATINE, IL 60038-0001                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,576.02
          GRAINGER-2                                                            Contingent
          DEPT. 803767011                                                       Unliquidated
          PALATINE, IL 60038-0001                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,256.11
          GRAYBAR ELECTRICAL                                                    Contingent
          P O BOX 403049                                                        Unliquidated
          ATLANTA, GA 30384                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,065.90
          GTC TECHNOLOGIES, INC.                                                Contingent
          P O BOX 985                                                           Unliquidated
          ROCK HILL, SC 29731                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          GXS, INC                                                              Contingent
          9711 WASHINGTON BLVD.                                                 Unliquidated
          GAITHERSBURG, MD 20878                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,290.40
          HAAS OUTDOORS, INC                                                    Contingent
          P.O. BOX 757                                                          Unliquidated
          WEST POINT, MS 39773                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.00
          HANGZHOU YANGTSE RIVER DELTA T                                        Contingent
                                                                                Unliquidated
          CITIBANK N.A NEW YORK                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.78
          HILLCREST VISION, O.D., P.A.                                          Contingent
          2341 WINTERHAVEN LANE                                                 Unliquidated
          WINSTON-SALEM, NC 27103                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $142,006.31
          HINCKLEY, ALLEN & SNYDER                                              Contingent
          ATTN: WILLIAM R. GRIMM                                                Unliquidated
          PROVIDENCE, RI 02903                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,057.70
          HINTON & HILLMAN, INC.                                                Contingent
          5755 North point Parkway                                              Unliquidated
          Alpharetta, GA 30022                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $378.56
          HOME DEPOT CREDIT SERVICE                                             Contingent
          DEPT 32-2003301235                                                    Unliquidated
          LOUISVILLE, KY 40290-1030                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,468.82
          HOMETEAM PEST DEFENSE INC                                             Contingent
          3908-C WESTPOINT BLVD                                                 Unliquidated
          WINSTON-SALEM, NC 27103-6721                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $236.94
          HR DIRECT                                                             Contingent
          P.O. BOX 451179                                                       Unliquidated
          SUNRISE, FL 33345-1179                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $111.23
          IDLEWYLDE AGENCIES (PTY) LTD                                          Contingent
          76 CLAN STEWART STREET                                                Unliquidated
          CAPE TOWN                                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $11.22
          ILD TELECOMMUNICATIONS, INC.                                          Contingent
          5000 SAWGRASS VILLAGE CIR                                             Unliquidated
          PONTE VEDRA, FL 32082-5042                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,260.60
          IMAGES FABRIC DESIGNS                                                 Contingent
          DIV TULLOS INC.                                                       Unliquidated
          VERONA, MS 38879                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,350.00
          INDEV                                                                 Contingent
          5235 - 26th AVE                                                       Unliquidated
          ROCKFORD, IL 61109                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,980.00
          INDUSTRIAL BRUSH CO. INC.                                             Contingent
          105 CLINTON ROAD                                                      Unliquidated
          FAIRFIELD, NJ 07004                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $989.06
          J A KING & CO, LLC                                                    Contingent
          P. O. BOX 160                                                         Unliquidated
          WHITSETT, NC 27377                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,843.00
          J CRAIG HUNT, PSY D                                                   Contingent
          2286 BETHESDA ROAD                                                    Unliquidated
          LEXINGTON, NC 27295                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $634.00
          JAMES M. PLEASANTS CO., INC.                                          Contingent
          P.O. BOX 890396                                                       Unliquidated
          CHARLOTTE, NC 28289                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $261,643.83
          JAMES R. MCCULLOCH                                                    Contingent
          38 COOKE STREET                                                       Unliquidated
          Providence, RI 02903                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          JOMAR SOFTCORP INTERNAT'L                                             Contingent
          1760 BISHOP STREET                                                    Unliquidated
          CAMBRIDGE, ONTARIO                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,835.00
          JOMAR SOFTCORP SERVICES                                               Contingent
          1760 BISHOP STREET                                                    Unliquidated
          CAMBRIDGE, ONTARIO                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,471.70
          JORDAN OUTDOOR ENTERPRISE                                             Contingent
          1390 BOX CIRCLE                                                       Unliquidated
          COLUMBUS, GA 31907                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $648.00
          KEETON SALES AGENCY                                                   Contingent
          4920 FRANKLIN AVENUE                                                  Unliquidated
          WACO, TX 76710-6918                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,080.00
          KEL CHEMICALS INC.                                                    Contingent
          P O BOX 14865                                                         Unliquidated
          GREENVILLE, SC 29610                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,065.14
          KENTEX                                                                Contingent
          NO. 31 HOUSHAN RD.                                                    Unliquidated
          HANGZHOU                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $142.32
          KENYON FABRICATING                                                    Contingent
          PO BOX 518                                                            Unliquidated
          LAWNDALE, NC 28090                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $119.80
          LABOR LAW CENTER, INC.                                                Contingent
          12534 VALLEY VIEW STREET                                              Unliquidated
          GARDEN GROVE, CA 92845-2006                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,087.86
          LASER RECHARGE OF NC                                                  Contingent
          904 NORWALK AVENUE                                                    Unliquidated
          GREENSBORO, NC 27407                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,420.39
          LEROY E BELK JR                                                       Contingent
          TAX COLLECTOR                                                         Unliquidated
          TUPELO, MS 38802                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,704.88
          LIFTONE LLC                                                           Contingent
          P. O. BOX 602727                                                      Unliquidated
          CHARLOTTE, NC 28260-2727                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,530.00
          LINCOLN FINE INGREDIENTS                                              Contingent
          50 INDUSTRIAL CIRCLE                                                  Unliquidated
          LINCOLN, RI 02865                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,728.00
          LOCKE LORD LLP                                                        Contingent
          P O BOX 416395                                                        Unliquidated
          BOSTON, MA 02241-6395                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,459.30
          LPT, LLC                                                              Contingent
          317 GREEN NEEDLES ROAD                                                Unliquidated
          LEXINGTON, NC 27295                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $603,470.10
          LUBRIZOL ADVANCED MATERIALS                                           Contingent
          P O BOX 643050                                                        Unliquidated
          PITTSBURGH, PA 15264-3050                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $550.00
          M & M CLEANING SERVICE                                                Contingent
          458 WILLOW ROAD                                                       Unliquidated
          TUPELO, MS 38804                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,208.98
          M DOHMEN USA INC.                                                     Contingent
          P. O. BOX 300041                                                      Unliquidated
          DULUTH, GA 30096-0300                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $705.23
          MACE SECURITY PRODUCTS                                                Contingent
          4400 CARNEGIE AVE                                                     Unliquidated
          CLEVELAND, OH 44103                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.05
          MACHINE & WELDING                                                     Contingent
          P.O BOX 1708                                                          Unliquidated
          DUNN, NC 28335                                                        Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $229.84
          MARLIN BUSINESS BANK                                                  Contingent
          PO BOX 13604                                                          Unliquidated
          PHILADELPHIA, PA 19101-3604                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $775.00
          MARLIN CHEMICAL CO.                                                   Contingent
          P O BOX 639                                                           Unliquidated
          LENOIR, NC 28645                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          MARSHA MCNEELY HIERL                                                  Contingent
          3721 DERBYSHIRE ROAD                                                  Unliquidated
          WINSTON-SALEM, NC 27104                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $339.54
          MASTERCRAFT INCORPORATED                                              Contingent
          P O BOX 97                                                            Unliquidated
          LAGRANGE, IN 46761                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $482.93
          MASTERMANS                                                            Contingent
          P O BOX 411                                                           Unliquidated
          AUBURN, MA 01501-0411                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,359.05
          MATT MARSHALL & CO.                                                   Contingent
          P O BOX 77357                                                         Unliquidated
          GREENSBORO, NC 27417                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,400.00
          MCAFEE, INC                                                           Contingent
          6052 PAYSPHERE CIRCLE                                                 Unliquidated
          CHICAGO, IL 60674-6052                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,453.13
          MCMASTER-CARR SUPPLY CO.                                              Contingent
          P O BOX 7690                                                          Unliquidated
          CHICAGO, IL 60680-7690                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,703.24
          MCRAE ROOFING                                                         Contingent
          P O BOX 2148                                                          Unliquidated
          ASHEBORO, NC 27204-2148                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $34.32
          MECHANICAL SUPPLY COMPANY                                             Contingent
          P O BOX 709                                                           Unliquidated
          MATHEWS, NC 28106                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,085.09
          MEE INDUSTRIES INC                                                    Contingent
          16021 ADELANTE STREET                                                 Unliquidated
          IRWINDALE, CA 91702                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,980.50
          MELATEX INCORPORATED                                                  Contingent
          P.O. BOX 5127                                                         Unliquidated
          CHARLOTTE, NC 28299-5127                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,290.00
          METLIFE INSURANCE COMPANY                                             Contingent
          REMITTANCE SERVICE CENTER                                             Unliquidated
          PITTSBURGH, PA 15250-7499                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,623,998.88
          MICROFIBRES PARTNERSHIP                                               Contingent
          38 COOKE STREET                                                       Unliquidated
          PROVIDENCE, RI 02907                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $770,213.20
          MILLIKEN & COMPANY                                                    Contingent
          P O BOX 7247-8959                                                     Unliquidated
          PHILADELPHIA, PA 19170                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,602.00
          MONROE STAFFING                                                       Contingent
          P.O. BOX 783043                                                       Unliquidated
          PHILADELPHIA, PA 19178-3043                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $65.76
          MONTS PAPER & PACKAGING                                               Contingent
          P. O. BOX 647                                                         Unliquidated
          TUPELO, MS 38802                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,493.88
          MORRISETTE PAPER COMPANY, IN                                          Contingent
          P.O. BOX 890982                                                       Unliquidated
          CHARLOTTE, NC 28289-0982                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $386.69
          MOTION INDUSTRIES INC                                                 Contingent
          P O BOX 404130                                                        Unliquidated
          ATLANTA, GA 30384                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,800.00
          MSDSPRO LLC                                                           Contingent
          1300 E 68TH AVENUE                                                    Unliquidated
          ANCHORAGE, AK 99518                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,793.75
          NARRAGANSETT BAY COMMISSION                                           Contingent
          P O BOX 9668                                                          Unliquidated
          PROVIDENCE, RI 02940-9668                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $37,812.76
          NATIONAL GRID                                                         Contingent
          PO BOX 11739                                                          Unliquidated
          NEWARK, NJ 07101-4739                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,742.40
          NATIONAL LIFE INSURANCE CO.                                           Contingent
          P O BOX 371894                                                        Unliquidated
          PITTSBURGH, PA 15250-7894                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,420.00
          NATIONAL TEXTILE ASSOC                                                Contingent
          P.O. BOX 1090                                                         Unliquidated
          CHERRYVILLE, NC 28021                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $186.63
          NEWARK                                                                Contingent
          P O BOX 94151                                                         Unliquidated
          PALATINE, IL 60094-4151                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $313.76
          NEXTHERMAL                                                            Contingent
          1045 HARTS LAKE RD                                                    Unliquidated
          BATTLE CREEK, MI 49037                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,289.34
          NMHG FINANCIAL SERVICES, INC                                          Contingent
          P.O. BOX 643749                                                       Unliquidated
          PITTSBURGH, PA 15264                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $256.61
          NORTH STATE COMMUNICATION                                             Contingent
          P O BOX 612                                                           Unliquidated
          HIGH POINT, NC 27261-0612                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $109.00
          NOVANT HEALTH PRIMECARE                                               Contingent
          1399 WESTGATE CENTER DRIVE                                            Unliquidated
          WINSTON-SALEM, NC 27114-4609                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,352.19
          OLD DOMINION FREIGHT LINE                                             Contingent
          P O BOX 415202                                                        Unliquidated
          BOSTON, MA 02241-5202                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,311.71
          OMEGA ENGINEERING INC                                                 Contingent
          P.O. BOX 405369                                                       Unliquidated
          ATLANTA, GA 30384-5369                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,362.50
          ONEPATH SYSTEMS OF NC, LLC                                            Contingent
          7900 TRIAD CENTER DRIVE                                               Unliquidated
          GREENSBORO, NC 27409                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,514.20
          ORGANIC DYES AND PIGMENTS LL                                          Contingent
          65 VALLEY ST                                                          Unliquidated
          EAST PROVIDENCE, RI 02914                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $377.81
          OVERLAND SUPPLY                                                       Contingent
          P O BOX 498                                                           Unliquidated
          PAWTUCKET, RI 02862                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $384.60
          PALL CORPORATION                                                      Contingent
          770 PENNSYLVANIA DRIVE                                                Unliquidated
          EXTON, PA 19341                                                       Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,945.12
          PARK PLACE TECHNOLOGIES, LLC                                          Contingent
          P O BOX 78000 - DEPT 781156                                           Unliquidated
          DETROIT, MI 48278-1156                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,403.14
          PAWTUCKET WATER SUPPLY                                                Contingent
          P O BOX 1111                                                          Unliquidated
          PROVIDENCE, RI 02901-1111                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,582.54
          PEAK- RYZEX, INC.                                                     Contingent
          121 BROADWAY                                                          Unliquidated
          DOVER, NH 03820                                                       Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,149.51
          PENSKE TRUCK LEASING CO                                               Contingent
          P O BOX 802577                                                        Unliquidated
          CHICAGO, IL 60680-2577                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,161.46
          PIEDMONT NATURAL GAS                                                  Contingent
          P.O. BOX 660920                                                       Unliquidated
          DALLAS, TX 75266-0920                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $290.00
          PIERCE FIRE PROTECTION SERVI                                          Contingent
          24 GRECO LANE                                                         Unliquidated
          WARWICK, RI 02886                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $32.00
          PITNEY BOWES GLOBAL FINANCIA                                          Contingent
          P O BOX 371887                                                        Unliquidated
          PITTSBURGH, PA 15250-7887                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $168.52
          PITNEY BOWES PURCHASE                                                 Contingent
          POWER                                                                 Unliquidated
          PITTSBURGH, PA 15250-7874                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,888.49
          POBCO INC.                                                            Contingent
          99 HOPE AVENUE                                                        Unliquidated
          WORCHESTER, MA 01603                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,065.25
          POLYTRONICS ENGINEERING                                               Contingent
          30 WEST BEAVER CREEK                                                  Unliquidated
          RICHMOND HILL                                                         Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $120.83
          PRINCIPAL FINANCIAL GROUP                                             Contingent
          P O BOX 9394                                                          Unliquidated
          DES MOINES, IA 50306-9394                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $67.24
          PROFESSIONAL COFFEE SERV                                              Contingent
          P O BOX 240                                                           Unliquidated
          CORINTH, MS 38835-0240                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $276.00
          PROVIDENT LIFE & ACCIDENT                                             Contingent
          INSURANCE COMPANY                                                     Unliquidated
          CHATTANOOGA, TN 37402                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,258.78
          PURCHASE POWER                                                        Contingent
          P. O. BOX 371874                                                      Unliquidated
          PITTSBURGH, PA 15250-7874                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $148,845.57
          PURE NOBLE INTERNATIONAL LIM                                          Contingent
          ROOM 819                                                              Unliquidated
          SHANGHAI                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,333.80
          QUALITY INDUSTRIAL ELECTRONI                                          Contingent
          P.O. BOX 846                                                          Unliquidated
          OAK RIDGE, NC 27310                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.72
          QUARLES FUEL NETWORK                                                  Contingent
          PO BOX 7327                                                           Unliquidated
          FREDERICKSBURG, VA 22404                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,545.00
          R & R PLUMBING                                                        Contingent
          2416 MILLING RD.                                                      Unliquidated
          MOCKSVILLE, NC 27028                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,675.00
          RABINOVITZ CONSULTING, INC                                            Contingent
          14712 BOTANY WAY                                                      Unliquidated
          NORTH POTOMAC, MD 20878                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.72
          RADWELL INTERNATIONAL, INC.                                           Contingent
          PO BOX 822828                                                         Unliquidated
          PHILADELPHIA, PA 19182-2828                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $360.79
          RANKIN INDUSTRIES                                                     Contingent
          PO BOX 1213                                                           Unliquidated
          DALLAS, NC 28034                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $377.80
          REAGENTS, INC                                                         Contingent
          P. O. BOX 961102                                                      Unliquidated
          FORT WORTH, TX 76161-1102                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $816.83
          REPUBLIC SERVICES #097                                                Contingent
          P O BOX 9001099                                                       Unliquidated
          LOUISVILLE, KY 40290-1099                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $56.78
          RICARDO PEREZ DELA VEGA                                               Contingent
          AV. LA PAZ NO. 2597                                                   Unliquidated
          GUADALAJARA, JA 44130                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $968.08
          RICOH USA, INC                                                        Contingent
          P O BOX 827577                                                        Unliquidated
          PHILADELPHIA, PA 19182-7577                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $124.54
          ROBERT BOVEN                                                          Contingent
          B.W. AGENCIES                                                         Unliquidated
          WYTHENSHAW                                                            Disputed
          MANCHESTER
                                                                             Basis for the claim:
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,098.00
          ROTHTEC ENGRAVING                                                     Contingent
          P O BOX 50060                                                         Unliquidated
          NEW BEDFORD, MA 02745-0002                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,055.20
          ROYAL ADHESIVES AND SEALANTS                                          Contingent
          P. O. BOX 711886                                                      Unliquidated
          CINCINNATI, OH 45271-1886                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,949.52
          RSM KOMMUNIKATIONS                                                    Contingent
          MARKETING GMBH                                                        Unliquidated
          NURNBERG                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,872.75
          RUDOLF-VENTURE CHEMICAL                                               Contingent
          452 LAKESHORE PARKWAY                                                 Unliquidated
          ROCK HILL, SC 29730                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $633.21
          SAFETY KLEEN                                                          Contingent
          P O BOX 382066                                                        Unliquidated
          PITTSBURGH, PA 15250-8066                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,267.00
          SAFETY SIGNAL CO.                                                     Contingent
          P O BOX 336                                                           Unliquidated
          MILLIS, MA 02054                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,356.09
          SAMPLETECH INC                                                        Contingent
          P.O. BOX 7062                                                         Unliquidated
          HIGH POINT, NC 27264                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,679.37
          SAP AMERICA, INC                                                      Contingent
          PO BOX 7780 824024                                                    Unliquidated
          PHILADELPHIA, PA 19182-4024                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $625.00
          SCAN AGAIN CORP.                                                      Contingent
          DEPT CH 16866                                                         Unliquidated
          PALATINE, IL 60055-6868                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,600.00
          SCANTECH AMERICAS, INC                                                Contingent
          8637 GROVEMONT CIRCLE                                                 Unliquidated
          GAITHERSBURG, MD 20877                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,269.29
          SCHENCK PROCESS LLC                                                   Contingent
          PO BOX 19747                                                          Unliquidated
          PALATINE, IL 60055-9747                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,837.62
          SEECO INC                                                             Contingent
          920 SALEM GLEN COURT                                                  Unliquidated
          CLEMMONS, NC 27012                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,700.00
          SERVICE-TECH CORP                                                     Contingent
          7589 FIRST PLACE                                                      Unliquidated
          OAKWOOD VILLAGE, OH 44146                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $321.60
          SHRED-IT USA                                                          Contingent
          1150 PROVIDENCE HIGHWAY                                               Unliquidated
          SHARON, MA 02067                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,213.67
          SNOW ELECTRIC CO., INC.                                               Contingent
          428 BROOKSTOWN AVENUE                                                 Unliquidated
          WINSTON-SALEM, NC 27101                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $190.00
          SOCIETY FOR HUMAN                                                     Contingent
          RESOURCE MANAGEMENT                                                   Unliquidated
          BALTIMORE, MD 21279-0482                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $357,370.90
          SOLVAY USA INC                                                        Contingent
          PO BOX 510838                                                         Unliquidated
          PHIADELPHIA, PA 19175-0838                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,114.46
          SOURCE TRANSPORT                                                      Contingent
          P O BOX 10200                                                         Unliquidated
          MATTHEWS, NC 28106                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,358.29
          SOUTHEASTERN FREIGHT LINES                                            Contingent
          P O BOX 100104                                                        Unliquidated
          COLUMBIA, SC 29202-3104                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $165.71
          SOUTHERN FASTENERS AND                                                Contingent
          SUPPLY INC                                                            Unliquidated
          CHARLOTTE, NC 28289-0507                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $92.36
          SPRINT                                                                Contingent
          P O BOX 219100                                                        Unliquidated
          KANSAS CITY, MO 64121-9100                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $122.27
          SPRINT PRINT OF TUPELO AND S                                          Contingent
          HARDEN ENTERPRISES, INC.                                              Unliquidated
          TUPELO, MS 38804                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $3.10
          SPS COMMERCE, INC                                                     Contingent
          VB BOX 3                                                              Unliquidated
          MINNEAPOLIS, MN 55480-9202                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,751.14
          STAPLES CREDIT PLAN                                                   Contingent
          P O BOX 689020                                                        Unliquidated
          DES MOINES, IA 50368-9020                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,769.97
          STATE ELECTRIC SUPPLY CO                                              Contingent
          dba LIGON ELECTRIC SUPPLY CO                                          Unliquidated
          CHARLOTTE, NC 28289-0889                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $203.95
          STATESVILLE PROCESS INSTR                                             Contingent
          111 TEMPERATURE LANE                                                  Unliquidated
          STATESVILLE, NC 28677                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $942.35
          SUBURBAN PROPANE                                                      Contingent
          PO BOX G                                                              Unliquidated
          WHIPPANY, NJ 07981-0406                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,373.61
          SUMMIT ELECTRICAL CONTRACTOR                                          Contingent
          21 POWDER HILL ROAD                                                   Unliquidated
          LINCOLN, RI 02865                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,537.94
          SUNBELT PACKAGING, LLC                                                Contingent
          P.O. BOX 531679                                                       Unliquidated
          ATLANTA, GA 30353-1679                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $91.59
          SUPPLY NEW ENGLAND                                                    Contingent
          P O BOX 838                                                           Unliquidated
          ATTLEBORO, MA 02703                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,635.00
          SYMTECH INC.                                                          Contingent
          P O BOX 751033                                                        Unliquidated
          CHARLOTTE, NC 28275-1033                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $430.25
          SYNERGY RECYCLING                                                     Contingent
          320 SOUTH GIBSON DRIVE                                                Unliquidated
          MADISON, NC 27025                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,393.75
          SYSTEMS DEVELOPMENT & SUPPOR                                          Contingent
          35 MT. VERNON STREET                                                  Unliquidated
          WEST ROXBURY, MA 02132                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,280.95
          TENCARVA MACHINERY CO.                                                Contingent
          P O BOX 409897                                                        Unliquidated
          ATLANTA, GA 30384-9897                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $733.89
          TENNANT SALES AND SERVICE CO                                          Contingent
          P O BOX 71414                                                         Unliquidated
          CHICAGO, IL 60694-1414                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $153.00
          THE BUSINESS JOURNAL                                                  Contingent
          P. O. BOX 36919                                                       Unliquidated
          CHARLOTTE, NC 28236-9904                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $359.73
          THE LILLY COMPANY                                                     Contingent
          P.O. BOX 1000                                                         Unliquidated
          MEMPHIS, TN 38148-0184                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,492.00
          THE MASSEY COMPANY                                                    Contingent
          9006-A PERIMETER WOODS DRIVE                                          Unliquidated
          CHARLOTTE, NC 28216                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,689.36
          THIES CORPORATION                                                     Contingent
          P O BOX 36010                                                         Unliquidated
          ROCK HILL, SC 29732-0500                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,005.00
          TMP OF NC, INC.                                                       Contingent
          1201 OLD STAGE RD.                                                    Unliquidated
          YADKINVILLE, NC 27055                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.22
          TOMBIGBEE ELECTRIC POWER                                              Contingent
          P O BOX 1789                                                          Unliquidated
          TUPELO, MS 38802                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,761.75
          TRI-BLENDS, INC                                                       Contingent
          PO BOX 2126                                                           Unliquidated
          INDIAN TRAIL, NC 28079                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $526.41
          TRI-POWER                                                             Contingent
          P O BOX 444                                                           Unliquidated
          MOCKSVILLE, NC 27028                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $42.73
          TUPELO WATER & LIGHT                                                  Contingent
          P O BOX 588                                                           Unliquidated
          TUPELO, MS 38802-0588                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,158.95
          TW TELECOM                                                            Contingent
          P O BOX 910182                                                        Unliquidated
          DENVER, CO 80291-0182                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,494.87
          TWIN CITY SPRINKLER CO., INC                                          Contingent
          PO BOX 12457                                                          Unliquidated
          WINSTON-SALEM, NC 27117                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,660.76
          TYCO INTEGRATED SECURITY LLC                                          Contingent
          P O BOX 371967                                                        Unliquidated
          PITTSBURGH, PA 15250-7967                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $615.51
          U-LINE                                                                Contingent
          2200 S. LAKESIDE DRIVE                                                Unliquidated
          WAUKEGAN, IL 60085                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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             Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,837.29
          UNITED AIR FILTER CO.                                                 Contingent
          P O BOX 34215                                                         Unliquidated
          CHARLOTTE, NC 28234-4215                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,645.31
          UNIVERSAL PROTECTION SERVICE                                          Contingent
          26375 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1263                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,062.54
          UPS                                                                   Contingent
          P O BOX 7247-0244                                                     Unliquidated
          PHILADELPHIA, PA 19170-0001                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,027.10
          VERIZON WIRELESS                                                      Contingent
          P.O. BOX 660108                                                       Unliquidated
          DALLAS, TX 75266-0108                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,289.83
          VERLAG MATTHIAS RITTHAMMER GMB                                        Contingent
          P O BOX 24249                                                         Unliquidated
          WINSTON-SALEM, NC 27114                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $217.97
          VWR INTERNATIONAL INC                                                 Contingent
          P O BOX 640169                                                        Unliquidated
          PITTSBURGH, PA 15264-0169                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $614.07
          WASTE MANAGEMENT OF N MS                                              Contingent
          P O BOX 9001054                                                       Unliquidated
          LOUISVILLE, KY 40290-1054                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $97.80
          WASTE MANAGEMENT OF RI                                                Contingent
          P O BOX 13648                                                         Unliquidated
          Philadelphia, PA 19101-3648                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,986.38
          WASTE MANAGEMENT WS                                                   Contingent
          P O BOX 105453                                                        Unliquidated
          ATLANTA, GA 30348                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $371.19
          WAT-R-BOY PURIFICATION                                                Contingent
          P O BOX 603                                                           Unliquidated
          KERNERSVILLE, NC 27285-603                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,048.02
          WEKO NORTH AMERICA                                                    Contingent
          P.O. BOX 170037                                                       Unliquidated
          SPARTANBURG, SC 29301                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,155.35
          WELLS FARGO EQUIPMENT                                                 Contingent
          NW-8178                                                               Unliquidated
          MINNEAPOLIS, MN 55485-8178                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,994.08
          WENDAO TEXTILE CO., LTD                                               Contingent
          NO. 62 JUXIAN ROAD                                                    Unliquidated
          ZHEJIANG                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $304.94
          WESCO-CCS                                                             Contingent
          P.O. BOX 642728                                                       Unliquidated
          PITTSBURGH, PA 15264-2728                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $937.12
          WESTCO SALES, INC                                                     Contingent
          P.O. BOX 25484                                                        Unliquidated
          CHARLOTTE, NC 28229                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $259.00
          WHELAN & SIKET, LLP                                                   Contingent
          30 KENNEDY PLAZA, SUITE 402                                           Unliquidated
          PROVIDENCE, RI 02903                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $585.00
          WINSTON-SALEM CHAMBER OF                                              Contingent
          COMMERCE                                                              Unliquidated
          WINSTON-SALEM, NC 27101                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $865.54
          WOLSELEY INDUSTRIES #1430                                             Contingent
          P. O. BOX 536479                                                      Unliquidated
          ATLANTA, GA 30353-6479                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,310.45
          WOMBLE CARLYLE SANDRIDGE                                              Contingent
          PO BOX 601879                                                         Unliquidated
          CHARLOTTE, NC 28260-1879                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,030.00
          WORLDWIDE LOGISTICS LTD.                                              Contingent
          405 PARK AVENUE                                                       Unliquidated
          NEW YORK, NY 10022                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $822.94
          ZEP MANUFACTURING CO.                                                 Contingent
          P.O. BOX 404628                                                       Unliquidated
          ATLANTA, GA 30384-4628                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.313     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $397,728.95
           Zhongwang Holding Group Co.,                                         Contingent
           SHULHONG TEMPLE VILLAGE                                              Unliquidated
           HANGZHOU                                                             Disputed
           Date or dates debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No     Yes

 3.314     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,413.50
           ZSCHIMMER & SCHWARZ INC                                              Contingent
           P O BOX 1105                                                         Unliquidated
           MILLEDGEVILLE, GA 31059-1105                                         Disputed
           Date or dates debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

         Name and mailing address                                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.        $                           0.00
 5b. Total claims from Part 2                                                                             5b.   +    $                  12,657,109.46

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.        $                     12,657,109.46




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 Fill in this information to identify the case:

 Debtor name         Microfibres, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.      State what the contract or               Lease for parking
           lease is for and the nature              spaces adjacent to
           of the debtor's interest                 building 1125 Main
                                                    Street
                                                    Month-to-month:
                                                    $900.00 monthly

                                                    Lease for parking
                                                    spaces in front of 1125
                                                    Main Street
                                                    Month-to-month
                                                    $350.00 monthly
             State the term remaining
                                                                                 BLACKSTONE VALLEY COMMUNITY HE
            List the contract number of                                          39 EAST AVENUE
             any government contract                                             Pawtucket, RI 02860


 2.2.      State what the contract or               Trailer Leasing -
           lease is for and the nature              Storage
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 BOWMAN TRAILER LEASING
            List the contract number of                                          201 S. REGIONAL ROAD
             any government contract                                             GREENSBORO, NC


 2.3.      State what the contract or               Contingent Liability
           lease is for and the nature              Agreement with
           of the debtor's interest                 Microfibres Logistics
                                                    (non-related)
                                                    distributor dated
                                                    December 4, 2014
             State the term remaining

            List the contract number of                                          Contingent Liability Agreement
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 8
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 Debtor 1 Microfibres, Inc.                                                                  Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.4.      State what the contract or               Lease for building
           lease is for and the nature              space in 1125 Main
           of the debtor's interest                 Street - part of
                                                    Microfibres Inc. in
                                                    Rhode Island
                                                    Period from November
                                                    1, 2015
                                                    Month-to-month
                                                    $3581.25
             State the term remaining
                                                                                 Cooley Group
            List the contract number of                                          50 Esten Avenue
             any government contract                                             Pawtucket, RI 02860


 2.5.      State what the contract or               Fork Lift Leases
           lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41602
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.6.      State what the contract or               Fork Lift Leases
           lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41603
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.7.      State what the contract or               Fork Lift Leases
           lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41604
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.8.      State what the contract or               Fork Lift Leases
           lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41605
             any government contract                                             PHILADELPHIA, PA 19101-1602




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 Debtor 1 Microfibres, Inc.                                                                  Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.9.      State what the contract or               Fork Lift Leases
           lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41606
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.1       State what the contract or               Fork Lift Leases
 0.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41607
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.1       State what the contract or               Fork Lift Leases
 1.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41608
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.1       State what the contract or               Fork Lift Leases
 2.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 DE LAGE LANDEN FINANCIAL SER
            List the contract number of                                          P. O. BOX 41609
             any government contract                                             PHILADELPHIA, PA 19101-1602


 2.1       State what the contract or               Commission
 3.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 DLV SALES INC
            List the contract number of                                          C/O TONY VINSON
             any government contract                                             SHANNON, MS 38868


 2.1       State what the contract or               Commission
 4.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining                                            FRANK W. DAMIANO
                                                                                 THREE OAKLAND DRIVE
            List the contract number of                                          PORT WASHINGTON, NY 11050-4125

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 Debtor 1 Microfibres, Inc.                                                                  Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             any government contract


 2.1       State what the contract or               Commission
 5.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 INTERIOR-DESIGN
            List the contract number of                                          FABRIKSTRASSE 18
             any government contract                                             TECK


 2.1       State what the contract or               Software Maintenance
 6.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 JOMAR SOFTCORP
            List the contract number of                                          1760 BISHOP STREET
             any government contract                                             CAMBRIDGE, ONTARIO


 2.1       State what the contract or               Sales Representative
 7.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining                                            KENTEX MILLS (BELLA HOME)
                                                                                 NO. 31 HOUSHAN RD., CHONGXIAN
            List the contract number of                                          TOWN, YUHANG DISTRICT, HANGZHO
             any government contract                                             ZHEJIANG, CHINA, CT


 2.1       State what the contract or               Rent for Apartment
 8.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 MARSHA MCNEELY HIERL
            List the contract number of                                          3721 DERBYSHIRE ROAD
             any government contract                                             WINSTON-SALEM, NC 27104


 2.1       State what the contract or               Deferred
 9.        lease is for and the nature              Compensation
           of the debtor's interest                 Agreement

             State the term remaining
                                                                                 MARY ANN BEIRNE
            List the contract number of                                          5 WAKE ROBIN ROAD UNIT #2105
             any government contract                                             Lincoln, RI 02865


 2.2       State what the contract or               Deferred
 0.        lease is for and the nature              Compensation                 MICHAEL E. CZARNECKI
           of the debtor's interest                 Agreement                    439 RIVERBEND DRIVE
                                                                                 Advance, NC 27006

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or               Distributor/Product
 1.        lease is for and the nature              Warranty
           of the debtor's interest                 Contingent Liability
                                                    Agreement
             State the term remaining                                            Microfibres Logistics
                                                                                 Textaafoam B.V.
            List the contract number of                                          Tijvoortsebaan 5,5051 HJ Gorle
             any government contract                                             Netherlands


 2.2       State what the contract or               Commission
 2.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 MUZEKARI & ASSOCIATES
            List the contract number of                                          P.O. BOX 987
             any government contract                                             High Point, NC 27260


 2.2       State what the contract or               Fork Lift Leases
 3.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 NMHG FINANCIAL SERVICES, INC
            List the contract number of                                          P.O. BOX 643749
             any government contract                                             PITTSBURGH, PA 15264


 2.2       State what the contract or               Tupelo Lease Truck
 4.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 PENSKE TRUCK LEASING CO
            List the contract number of                                          P O BOX 802577
             any government contract                                             CHICAGO, IL 60680-2577


 2.2       State what the contract or               Commission
 5.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 PETER DAWE PTY LTD
            List the contract number of                                          5 SEQUOIA CLOSE
             any government contract                                             SYDNEY NSW 2073




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 Debtor 1 Microfibres, Inc.                                                                  Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.2       State what the contract or               Postage Machine
 6.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unkwnon
                                                                                 PITNEY BOWES
            List the contract number of                                          2225 American Drive
             any government contract                                             NEENAH, WI


 2.2       State what the contract or               Commission
 7.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 RICARDO PEREZ DELA VEGA
            List the contract number of                                          AV. LA PAZ NO. 2597
             any government contract                                             GUADALAJARA, JA 44130


 2.2       State what the contract or               Commission
 8.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 RICHARD D. BARRETT, INC.
            List the contract number of                                          1667 LAS LUNAS STREET
             any government contract                                             PASADENA, CA 91106


 2.2       State what the contract or               Commission
 9.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining                                            ROBERT BOVEN
                                                                                 B.W. AGENCIES
            List the contract number of                                          WYTHENSHAW, MANCHESTER
             any government contract


 2.3       State what the contract or               Fork Lifts
 0.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2431
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 1.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown                      TOYOTA COMMERCIAL FINANCE
                                                                                 DEPT. 2433
            List the contract number of                                          CAROL STREAM, IL

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 Debtor 1 Microfibres, Inc.                                                                  Case number (if known)
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             any government contract


 2.3       State what the contract or               Fork Lifts
 2.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2434
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 3.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2435
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 4.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2436
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 5.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2437
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 6.        lease is for and the nature
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TOYOTA COMMERCIAL FINANCE
            List the contract number of                                          DEPT. 2438
             any government contract                                             CAROL STREAM, IL


 2.3       State what the contract or               Fork Lifts
 7.        lease is for and the nature                                           TOYOTA COMMERCIAL FINANCE
           of the debtor's interest                                              DEPT. 2439
                                                                                 CAROL STREAM, IL

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             State the term remaining               Unknown

            List the contract number of
             any government contract


 2.3       State what the contract or               Security System in WS
 8.        lease is for and the nature              Plant
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 TYCO INTEGRATED SECURITY LLC
            List the contract number of                                          P O BOX 371967
             any government contract                                             PITTSBURGH, PA 15250-7967


 2.3       State what the contract or               Security in Winston
 9.        lease is for and the nature              Plant
           of the debtor's interest

             State the term remaining               Unknown
                                                                                 UNIVERSAL PROTECTION SERVICE
            List the contract number of                                          26375 NETWORK PLACE
             any government contract                                             CHICAGO, IL 60673-1263


 2.4       State what the contract or               Commission
 0.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining

            List the contract number of                                          W.F.M. VAN DER AA.
             any government contract                                             DELTALAAN 25


 2.4       State what the contract or               Commission
 1.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining
                                                                                 WAH, INC.
            List the contract number of                                          C/O ED JACOBS
             any government contract                                             Taylorsville, NC 28681


 2.4       State what the contract or               Commission
 2.        lease is for and the nature              Agreement
           of the debtor's interest

             State the term remaining

            List the contract number of                                          WO TEX, INC.
             any government contract                                             Sugar Grove, IL 60554




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 Fill in this information to identify the case:

 Debtor name         Microfibres, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF RHODE ISLAND

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                       Column 2: Creditor



             Name                              Mailing Address                                      Name                        Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.2                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.3                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.4                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code




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